Case 4:21-cr-00300-SDJ-BD          Document 1540-1       Filed 01/21/25     Page 1 of 1 PageID
                                         #: 7008



                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §           No. 4:21-cr-00300-SDJ-KPJ
                                                   §
CALVIN AUTAE THOMPSON (11)                         §
a.k.a. “C-Mo”                                      §


                          ORDER SCHEDULING STATUS CONFERENCE

         The Court, having considered the Defendant’s Request for a Status Conference, finds that

the request is well-taken and should be granted.

IT IS HEREBY ORDERED that a status conference in this matter is scheduled for

____________________, at _________ [am/pm], in Courtroom ________ of the United States

District Court for the Eastern District of Texas, Sherman Division.




0145634.0778248 4931-9298-1009v1
